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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                23-CV-10738 (VSB)
-----------------------------------------------------------------------X
JONES LANG LASALLE BROKERAGE, INC.,

                                   Plaintiff,
        -against-



NITYO INFOTECH CORPORATION,

                                    Defendant.
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                                      NOTICE OF APPEARANCE


        PLEASE TAKE NOTICE that the undersigned is admitted to practice in this Court, and

hereby appears as attorney of record for Defendant, NITYO INFOTECH CORPORATION in

this proceeding and demand that you serve all papers in this proceeding upon the undersigned at

the office address stated herein.


Dated: January 24, 2024
       Kew Gardens, NY
                                                     SHIRYAK, BOWMAN, ANDERSON, GILL
                                                     & KADOCHNIKOV LLP


                                                     _________________________________________
                                                     By: Dustin Bowman, Esq.
                                                     Counsel for Defendant
                                                     80-02 Kew Gardens Road, Suite 600
                                                     Kew Gardens NY 11415
                                                     Tel: 718-263-6800
                                                     Email: Dbowman@sbagk.com




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